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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                            )
                                                     )
         v.                                          )    Case No. 3:12-CR-067 JD
                                                     )
 OMAR DURAN LAGUNES (01)                             )
 MARGARITO FUENTES REYES (02)                        )
 RAUL RAFAEL ROMAN CAMACHO (03)                      )
 LUIS OMAR MONTES MERINO (04)                        )
 YALITZA EXCLUSA BORRERO (05)                        )
 EVELYN RIVIERA BORRERO (06)                         )

                                                  Order

         On December 10, 2012, the government submitted its Santiago Proffer, describing much of

 the evidence that it will present at trial to prove that the conspiracy alleged in the indictment existed,

 that the defendants were members of the conspiracy, and that various statements made by defendants

 or non-defendant co-conspirators were in furtherance of the conspiracy. After considering the

 government’s proffer, the Court finds that if the government produces the proffered evidence at trial,

 it will have satisfied the requirements of the co-conspirator exception to the hearsay rule under

 Federal Rule of Evidence 801(d)(2)(E), relative to the hearsay statements described herein.

                                         I. Standard of Review

         The applicable legal standards for the co-conspirator exception are well established. The

 government must demonstrate, by a preponderance of the evidence, that (1) the conspiracy existed;

 (2) the defendants and the declarant were both members; and (3) the statement was made in the

 course of and in furtherance of the conspiracy. Bourjaily v. United States, 483 U.S. 171, 175 (1987);

 United States v. Haynie, 179 F.3d 1048, 1050 (7th Cir. 1999). The contents of the statements

 themselves may be used to demonstrate the elements of the exception, and the government does not

 need independent corroborating evidence. United States v. Brookins, 52 F.3d 615, 623 (7th Cir.
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 1995). Moreover, co-conspirator statements are admissible under Rule 801(d)(2)(E) even against

 conspirators who join the conspiracy after the statements were made, as long as the conspiracy

 existed at the time. United States v. Sophie, 900 F.2d 1064, 1074 (7th Cir. 1990).

        There are several ways in which the government may proceed to meet its burden, but the

 favored approach in the Seventh Circuit, and the option employed here, is the so-called “Santiago

 proffer,” first approved in United States v. Santiago, 582 F.2d 1128, 1131 (7th Cir. 1978). This

 procedure allows a district court to conditionally admit co-conspirator statements based on a pre-trial

 proffer by the government of the evidence that it will produce at trial that will satisfy the

 requirements of admission under Rule 801(d)(2)(E). If the government does not live up to its proffer,

 the defendants can move for a mistrial or to have the statements stricken.

                                              II. Analysis

        The government seeks a conditional ruling admitting four              types of co-conspirator

 statements. First, it intends to produce, by transcript or testimony, statements made by various

 charged co-conspirators—the defendants—to government agents during undercover transactions.

 Second, it will produce statements made by the defendants to others in furtherance of the

 scheme—primarily Bureau of Motor Vehicles employees. Third, it intends to produce statements

 made by various defendants to customers of the alleged conspiracy who are now cooperating with

 the government. Finally, the evidence will include some statements made by a conspirator who is

 not charged in the indictment.

 A.     The proffered facts demonstrate the existence of a conspiracy.

        The first question is whether the proffered evidence would establish by a preponderance of

 the evidence that a conspiracy existed. The conspiracy at issue is that alleged in the indictment,

 namely to conceal, harbor, or shield known illegal aliens from detection and to induce or encourage

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 aliens to enter or reside in the United States illegally. The conspiracy allegedly pursued this illegal

 objective by assisting illegal aliens to obtain vehicle registrations, license plates, and titles for the

 vehicles, despite Indiana Bureau of Motor Vehicles policies designed to prevent individuals without

 social security numbers from obtaining these items.

         Based on the government’s proffer, the Court finds that it has met its burden to demonstrate

 that an agreement to pursue the alleged scheme existed between Omar Duran Lagunes (“Duran”),

 Raul Rafael Roman Camacho (“Roman”), Yalitza Exclusa Borrero (“Borrero”) and Evelyn Rivera

 Borrero (“Rivera”), beginning in at least October 2011—though other evidence suggest that Duran’s

 business dates back before 2009—and continuing until June 2012, and that the other co-defendants

 and one uncharged conspirator (“Mari”) were members of this same conspiracy for some or all of

 that period. The evidence, including documents from the BMV and evidence recovered in 2009 and

 2011 searches, will purportedly show that the defendants were involved in submitting hundreds of

 applications for commercial plates on behalf of undocumented aliens without social security

 numbers. Specifically, Roman notarized most of the approximately 200 Power of Attorney forms

 that police received from the BMV, which allowed Borrero and Rivera to present the transactions

 to the BMV.

         The government will also produce evidence that the undocumented aliens who received the

 commercial plates could not have otherwise obtained vehicle registrations and plates due to BMV

 policies.   The   evidence    from undercover          transactions—the    co-conspirator    statements

 themselves—establishes that Borrero and Rivera, along with Margarito Fuentes Reyes (“Fuentes”),

 and Luis Omar Montes Merino (“Merino”), met with undercover agents posing as illegal aliens at

 various locations, explained the process by which plates and registrations could be obtained, and

 filled out paperwork and took payment for services. Recordings and surveillance evidence will also

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 show that Duran was the head of the operation and that Duran, Borrero, and Rivera presented

 paperwork to the BMV on behalf of the undercover agents.

          Having found that the government’s proffer would demonstrate by a preponderance of the

 evidence an agreement to carry out the alleged scheme, the next question is whether the object of

 that scheme was unlawful. The Court has already concluded that the government could theoretically

 prove its case by proving that the defendants’ agreed objective was to “conceal, harbor, or shield”

 or “induce or encourage,” and that the scheme described above was taken in furtherance of those

 ends. See DE 138. Now, having seen the government’s Santiago proffer, the question for the Court

 is whether the evidence cited therein would in fact prove (by a preponderance of the evidence) an

 agreement to pursue some unlawful end. The Court concludes that it would.

          Simply, the government’s proffered evidence shows that the defendants engaged in a

 conspiracy to pursue at least one unlawful end: inducing or encouraging illegal aliens to continue

 residing in the United States.1 The evidence cited would show that the conspiracy existed to provide

 services to illegal aliens that those aliens could not otherwise obtain by virtue of the fact that they

 were illegal aliens. The conduct is clearly sufficient to satisfy the broad test from United States v.

 Fujii, 301 F.3d 535, 540 (7th Cir. 2002), under which the government may prove that a defendant

 “encouraged or induced” aliens to enter or remain in the country simply by showing that they

 “knowingly helped or advised the aliens.”

          Even if the Seventh Circuit would refine the test from Fujii—which upheld a conviction for

 actually escorting illegal aliens into the United States using fraudulent passports—in light of



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           The Court need not, and does not, decide here whether the government would also prove that an objective
 of the conspiracy was to “conceal, harbor, or shield,” or to commit mail-fraud. The Court expresses no opinion on
 whether the proffered evidence would prove a violation of those provisions. For Rule 801(d)(2)(E), it is enough that
 there was a conspiracy to commit a crime.

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 developments in the law or the particular facts of this case, the Court finds that the conduct alleged

 in this case falls soundly within the definition of “encourage or induce” explicitly or implicitly

 adopted in other circuits. The Third Circuit recently placed limits on the type of conduct that falls

 within § 1324(a)(1)(A)(iv)’s prohibition on inducing or encouraging, holding that it only prohibits

 “a person from engaging in an affirmative act that...encourages or induces an alien lacking lawful

 immigration status to come to, enter, or reside in the United States where the undocumented person

 otherwise might not have done so.” DelRio-Mocci v. Connolly Properties, Inc., 672 F.3d 241, 249

 (3rd Cir. 2012) (holding dismissal of civil RICO claims failing to meet this standard). Though not

 articulating such a standard, other Courts of Appeal have upheld convictions for the type of conduct

 that would meet the Third Circuit’s test. See United States v. Ndiaye, 434 F.3d 1270 (11th Cir. 2006)

 (holding that providing false documentation to enable aliens to obtain social security number

 amounts to encouraging under the statute); United States v. Oloyede, 982 F.2d 133 (4th Cir. 1992)

 (upholding conviction for selling false citizenship papers: “While offering [aliens] a chance to stand

 equally with all other American citizens, defendants encouraged them to continue to reside here”).

        The alleged scheme in this case meets the Fujii standard and also follows a similar pattern

 as convictions upheld in other circuits, and the Court holds that the efforts to assist undocumented

 aliens to obtain vehicle registrations and license plates—and thus the ability to own and use a motor

 vehicle—that they would not otherwise be able to obtain because of their immigration status, offers

 those aliens “a chance to stand equally with all other American citizens” in this respect, and

 “encourage[s] them to continue to reside here.” Nor does a holding that the conduct alleged here

 falls within the statute expand its reach to include innocuous and common conduct to the degree

 suggested by defendants. This is not a case of someone prosecuted for merely providing routine

 professional or administrative assistance to aliens. Rather, the objective of the conspiracy was to

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 help (for a fee) illegal aliens circumvent policies and procedures specifically designed to prevent

 them from obtaining certain benefits by creating bogus companies that had no other purpose than

 to allow the illegal aliens to secure BMV documentation without otherwise producing a social

 security number. The conduct here allowed illegal aliens to obtain valid vehicle registrations, license

 plates, and titles, and thus gave them access to motor vehicles, which are in many cases necessary

 to live and work in this country. The Court therefore finds that if the government produces the

 evidence cited in its Santiago proffer, it will have demonstrated, by a preponderance of the evidence,

 that a conspiracy existed—namely an agreement to unlawfully induce or encourage aliens to reside

 in the United States unlawfully.

 B.     All the defendants and the uncharged individual were members of the conspiracy.

        The Court also finds that the proffered evidence would demonstrate by a preponderance of

 the evidence that all six defendants in this case, as well as the one uncharged conspirator “Mari,”

 were members of the conspiracy at one point or other. “Once a conspiracy is established, only slight

 evidence is required to link a defendant to it.” United States v. Shoffner, 826 F.2d 619, 627 (7th Cir.

 1987) (citation omitted). Further, “statements made during the course of and in furtherance of a

 conspiracy, even in its embryonic stages, are admissible against those who arrive late or join an

 ongoing concern.” United States v. Potts, 840 F.2d 368, 372 (7th Cir. 1987).

        Omar Duran Lagnues. Direct encounters between Duran and undercover agents reveal his

 active role in the conspiracy and his understanding that its purpose was to obtain benefits for illegal

 aliens that they could not obtain themselves. Statements to undercover agents by other conspirators

 demonstrate that he was the leader of the conspiracy and directed its operations.

        Margarito Fuentes Reyes. Fuentes’s dealings with undercover agents in person on several

 occasions and over the phone demonstrate that he was working with others, including Duran, and

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 that he knew the purpose of the operation was to secure plates and registrations for illegal aliens who

 could not otherwise obtain them. Other advice he provided to agents shows that he understood that

 the ultimate goal was to help illegal aliens drive motor vehicles while avoiding detection as illegal

 aliens by law enforcement.

         Luis Omar Montes Merino. Similarly, conversations between undercover agents and Merino

 reveal that he was aware that he was working with Duran and that he understood that the purpose

 of the operation was to obtain vehicle registrations and license plates for illegal aliens. Items

 recovered during a search of Merino’s home in May 2011, such as BMV papers, lists of vehicle

 identification numbers and tax identification numbers, and business cards of Omar Duran, confirm

 his deep involvement with the conspiracy.

         Raul Rafael Roman Camacho. The government’s evidence will show that Roman was the

 primary, if not exclusive, notary for hundreds of Power of Attorney forms accompanying

 applications that other members of the conspiracy submitted to the BMV on behalf of customers.

 These forms came from a broad geographic area covering central and northern Indiana and spanned

 over two years. The forms were also notarized for individuals on behalf of suspiciously named

 companies and in at least one instance, the testimony of an undercover agent will show that Roman

 falsely notarized her Power of Attorney form outside of the agent’s presence. At this point only

 “slight evidence” is necessary to connect Roman to the conspiracy, and these facts show that Roman

 was regularly working with the conspiracy over a long period of time and not merely an outsider

 providing notary services, and, circumstantially, that it is more likely than not that he had some

 understanding of the scheme and its objectives.2 See United States v. Tingle, 183 F.3d 719, 724 (7th


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           The government has also proffered evidence regarding a statement that Roman made to investigators, and a
 redacted version of the statement designed to avoid potential Bruton issues. This statement confirms that he
 notarized hundreds of Power of Attorney forms and reveals that he was well aware of the objective of the scheme

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 Cir. 1999) (relevant factors in determining whether a relationship was a conspiracy or a buyer-seller

 relationship include length of affiliation, established method of payment, standardization of dealing,

 and level of mutual trust).

          Yalitza Exclusa Borrero. The proffered evidence would show that, like Fuentes and Merino,

 Borrero helped customers fill out paperwork necessary for the conspiracy while aware that the

 purpose of the operation was to secure license plates, registrations, and titles for illegal aliens.

 Surveillance and other evidence would also show that Borrero was involved in presenting completed

 paperwork to the BMV in order to obtain the items sought by illegal aliens.

          Evelyn Rivera Borrero. Like Duran, Fuentes, Merino, and Borrero, Rivera dealt with

 undercover agents posing as potential customers, explained the services offered by the conspiracy,

 and assisted them in filling out the necessary paperwork. Also like Borrero, surveillance evidence

 shows that Rivera was involved in presenting completed applications to the BMV.

          “Mari.” Like five of the six defendants, “Mari” dealt with undercover agents whom she

 thought were illegal aliens, explained the services offered and their cost, and gathered the

 information that was necessary to obtain license plates. Mari was indeed a member of the conspiracy

 and the fact that she was not charged in the indictment is no bar to the co-conspirator statement

 exception. See United States v. Ziperstein, 601 F.2d 281, 294 (7th Cir. 1979) (“[I]t is well

 established that co-conspirators need not be indicted, and a fortiori need not be named, for the



 and the reason why undocumented aliens would seek out Duran’s business and pay for the service rather than going
 to the BMV themselves. Not all the defendants agree that the redacted statement is admissible, and therefore the
 Court does not rely on Roman’s statement for purposes of this order. Although the Court may generally consider all
 non-privileged evidence in making preliminary evidentiary determinations such as this, United States v. Lindemann,
 85 F.3d 1232, 1238 (7th Cir. 1996), the circumstances of a Santiago proffer are unique in that the Court does not
 actually take evidence but instead relies on a proffer of the evidence that will be introduced at trial. The Court notes
 that if the redacted statement is ultimately admitted, it will corroborate the finding that Roman was a member of the
 conspiracy. Further, should the Court determine at trial that it is necessary to consider the full statements themselves
 to satisfy the co-conspirator exception, the Court will do so outside the presence of the jury.

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 exception to be applicable.”)

 C.     The statements identified were made in furtherance of the conspiracy.

        Finally, the Court finds that the government’s proffer is sufficient to conditionally establish

 that the various statements it seeks to admit under Rule 801(d)(2)(E) were made during and in

 furtherance of the conspiracy outlined above.         In determining whether statements were in

 furtherance of a conspiracy, “[t]he standard to be applied is whether some reasonable basis exists

 for concluding that the statement furthered the conspiracy.” Shoffner, 826 F.2d at 628. See also

 United States v. Layton, 720 F.2d 548, 556 (9th Cir. 1983) (“[S]tatements must ‘further the common

 objectives of the conspiracy,’ or ‘set in motion transactions that [are] an integral part of the

 [conspiracy].’ In short, they must assist the conspirators in achieving their objectives. Although

 statements designed to induce a listener to join a conspiracy are admissible, mere ‘casual admission

 [s] of culpability to someone [the declarant has] individually decided to trust’ are not admissible.”

 (citations omitted)). Under this standard, a statement is admissible as in furtherance of the

 conspiracy even if it is susceptible to alternate interpretations, and “need not have been exclusively,

 or even primarily, made to further the conspiracy.” Shoffner, 826 F.2d at 628.

        Defendants’ Statements to Undercover Agents. As the government points out, many of the

 statements that the various defendants made to undercover agents were not factual statements but

 rather instructions or negotiations. For example, defendants’ instructions to agents regarding what

 forms to fill out, what information to provide regarding vehicle purchase prices, whether or not to

 obtain insurance, where to keep certain documents, or how to explain the corporate registration if

 stopped by law enforcement are not admitted to prove their truth—they are not factual statements

 and thus not true or false at all—and therefore they are not hearsay in the first place. United States

 v. Robinzine, 80 F.3d 246, 252 (7th Cir. 1996) (holding that an order or request “could not be

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  hearsay, since it made no assertion of fact that could be true or false”).

         Some statements do contain factual assertions but will not be admitted to prove the truth of

  those statements and thus are not hearsay. For example, Fuentes’ and Merino’s assurances to one

  undercover agent that the services the company provided were legal will not be introduced to prove

  that the services were in fact legal (the government obviously contends they were not) but simply

  to show that he made the statement. United States v. Norwood, 798 F.2d 1094, 1098 (7th Cir. 1986)

  (quoting Advisory Committee Note to Fed. R. Evid. 801(c): “If the significance of an offered

  statement lies solely in the fact that it was made, no issue is raised as to the truth of anything

  asserted, and the statement is not hearsay.”). Descriptions of documents and the nature of services

  may be admitted not for their truth, but rather for the non-hearsay purpose of providing context for

  the non-hearsay instructions, or as circumstantial evidence of a the declarant’s involvement in the

  conspiracy. See United States v. Gaytan, 649 F.3d 573, 579 (7th Cir. 2011) (“[O]ut-of-court

  statements are not hearsay if they are offered not for the truth but to put the defendant's statements

  in context or to make what he said and did in reaction to the informant's statements intelligible to

  the jury.”). Similarly, miscellaneous statements in the course of transactions such as where the

  defendants are from are unlikely to be introduced for their truth, but rather to provide context for the

  undercover transactions and perhaps as circumstantial evidence of the declarant’s knowledge or

  intent. There is no need to apply the co-conspirator statement exception to non-hearsay statements.

         Some statements made to agents, however, will be offered to prove the truth of the matter

  asserted: statements, such as Fuentes’, that identify Duran as the boss, or that describe the scheme

  that the conspiracy used to obtain plates and registrations, do go to prove the roles of various

  defendants in the conspiracy, the location of offices, and the method by which the conspiracy

  operated. Other statements, such as Rivera’s statement that “everyone that comes here doesn’t have

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  papers and that’s why they can’t go to the BMV,” may be offered both for the non-hearsay purposes

  of showing the declarant’s knowledge or intent, and also to prove the truth of the matter, that

  customers sought services from the conspiracy because of their unlawful immigration status. These

  statements do qualify under the co-conspirator statement exception because they were made in

  furtherance and in the course of the conspiracy. They helped convince potential customers to

  purchase the conspiracy’s service, instilled confidence in the conspiracy, and helped obtain

  information necessary to pursue the conspiracy’s objectives. See United States v. Sophie, 900 F.2d

  1064, 1073-74 (7th Cir. 1990) (holding that statements designed to maintain trust or to obtain

  customers’ confidence are in furtherance of the conspiracy).

         Statements to BMV Employees. The government anticipates calling BMV Customer Service

  Representatives to testify regarding their encounters with members of the conspiracy. The

  government does not specify what statements by which defendants these witnesses will relate, but

  it explains that “the conspirators’ statements to [BMV employees] were the sort of conversations

  that occur whenever a person presents documents to a BMV [employee] and contained few, if any,

  assertions of fact.” Statements such as instructions at the time of a transaction are not assertions of

  fact and thus not hearsay at all. See Robinzine, 80 F.3d at 252. Even if some of the statements

  contain factual assertions identifying members of the conspiracy or explaining its methods, such

  statements are not hearsay if admitted to provide context for the BMV transaction or as

  circumstantial evidence that the conspiracy existed, regardless of the truth or falsity of the

  statements themselves. See United States v. Guyton, 36 F.3d 655, 658 (7th Cir. 1994). And if the

  government should seek to admit such factual statements for their truth, for some reason, they would

  certainly be in furtherance of the conspiracy, whether it was to obtain the license plates,

  registrations, or titles that were the object of the conspiracy or to avoid suspicion or detection. See

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  United States v. Manfre, 368 F.3d 832, 839 (8th Cir. 2004).

         Moreover, the Court notes that the government has identified certain written statements on

  paperwork presented to the BMV that it will seek to admit into evidence. The government rightly

  notes that these statements will almost certainly not be admitted for the truth of the matter asserted

  therein, and therefore will not constitute hearsay. See United States v. Green, 648 F.3d 569, 580 n.5

  (7th Cir. 2011) (noting that it is not hearsay “when records, especially of fraudulent activity, are

  introduced not to prove the truth of the matters asserted in the records but to show the course of the

  transaction or scheme, such as the communication of false information”); United States v. Serrano,

  434 F.3d 1003, 1005 (7th Cir. 2006) (noting that it is not hearsay when “documents are not

  introduced for the truth of the matters they assert” but rather “for the inferences that may be drawn

  circumstantially from their existence or from where they are found, regardless of whether the

  assertions contained therein are true or not.”). Since the purpose of the admission of these documents

  will be to show that the license applications were tendered to the BMV, they do not appear offered

  to prove the truth of any statements in the applications. To the extent that potentially hearsay

  statements are contained in business records either of the BMV or the defendants’ business, they

  may be admissible if they meet the requirements of Rule 803(6). Moreover, the government

  contends that these statements would meet the co-conspirator exception to the extent they are

  hearsay. The Court agrees. If any of these written statements are, for some reason, hearsay, the Court

  agrees that they were made in furtherance of the conspiracy because they advance the conspiracy’s

  goal of obtaining license plates, registrations, and titles for customers from the BMV despite the

  customer’s unlawful immigration status and without revealing that status. They would thus be

  admissible under the co-conspirator exception, but only to the extent that the written statements are

  statements of the co-conspirators themselves, and not written statements of the conspiracy’s

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  customers, who have not been shown to be members of the conspiracy.

         Defendants’ Statements to Cooperating Witnesses. The government does not identify which

  cooperating witnesses—customers of the conspiracy other than the undercover agents—will testify

  or the content of their testimony, but it notes that the defendants’ statements to cooperating

  witnesses are similar to those made to undercover agents. In many cases they are likely instructions

  regarding what paperwork to fill out, how much to pay, and perhaps how to explain the commercial

  registration to law enforcement if stopped, and not factual statements, and thus not hearsay at all.

  See Robinzine, 80 F.3d at 252. Again, some factual statements, such as descriptions of documents

  and the nature of services may be admitted not for their truth, but rather to provide context for the

  non-hearsay instructions, or as circumstantial evidence of the declarant’s involvement in the

  conspiracy. See Gaytan, 649 F.3d at 579. In other cases, statements identifying members of the

  conspiracy or explaining the manner in which it operated may be admitted for their truth. But such

  statements furthered the conspiracy because they were directed toward soliciting business for the

  conspiracy, instilling confidence in customers, or obtaining registrations, plates, and titles for the

  witnesses. Guyton, 36 F.3d at 658; Sophie, 900 F.2d at 1073-74.

         Uncharged Conspirator Statements. Having concluded that “Mari” was a member of the

  conspiracy, though not charged in this indictment, the Court finds that her statements to undercover

  agents, to the extent they were hearsay in the first place and not instructions, were made in

  furtherance of the conspiracy. Specifically, her instructions regarding what kind of ID the agent

  needed to obtain plates, whether he should buy insurance, and what purchase price to fill in for the

  vehicle are instructions, not hearsay, and her statements regarding the cost of services, while factual,

  are offered to provide context to the undercover transaction. If other statements regarding the

  members or operation of the conspiracy are offered for their truth, they will satisfy the co-

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  conspirator exception for the reasons discussed above relative to the charged conspirators’

  statements to undercover agents or cooperating witnesses.

                                           III. Conclusion

         Accordingly, the Court finds that the government has shown by a preponderance of the

  evidence that the conspiracy described by the government existed, that the six defendants and one

  uncharged co-conspirator were members of the conspiracy, and that the statements were made

  during the course of the conspiracy and in furtherance of it. The court makes this preliminary

  determination pursuant to Rule 104, Federal Rules of Evidence. Following the procedures suggested

  in Santiago, 582 F.2d 1128, the Court will conditionally admit the statements pursuant to Rule

  801(d)(2)(E) subject to a final ruling at the close of the government’s case once the Court has seen

  the evidence.

         SO ORDERED.

         ENTERED: January 8, 2013


                                                       /s/ JON E. DEGUILIO
                                                Judge
                                                United States District Court




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